Case 2:10-cr-00185-KJD-RJJ         Document 111         Filed 12/08/10     Page 1 of 2



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                            UN ITED STA T ES DIST RIC T CO UR T
                                    D ISTR IC T O F N EV A D A

IJNITED STATES0F AM ERICA,                        )
                                                  )
                      Plaintiff,                  )
                                                  )
        v.                                        )         2:1O-CR-I85-KJD (RJJ)
                                                  )
ARNULFO FAHUR-GASTELUM ,                          )
                                                  )
                      Defendant.                  )
                              FIN A L O RD ER ()F FO R FEIT U RE
        On Septem ber7,20l0,the tlnited States DistrictCourtforthe D istrictof-Nevadaentered a

PreliminaryOrderofForftiturepursuanttoFed.R.Crkm ,P.32.2(b)(l)and(2)'
                                                                    ,andTitle21,United
StatesCode,Section 853(a)(l),basedupon thepleaofguiltyby defendantARNULFO FAIIUR-
G ASTELUM to a crim inaloffense,forfeiting specitio property alleged in the Indid m entand show n
by the United Statesto have arequisitenexusto the offense to w hich defendantARN U LFO FA H UR-
G ASTELU M pled guilty.
        This Court t'inds the United States of A m erica published the notic.
                                                                            e of the forfeiture in
akxordanee with the law on O etober 6,2010,Ootober 13,2010,and O etober 20,20l0, in the l-as

VegasReview-lournal/sun,notlhringallknownthkrdpartiesoftheirrighttopetitiontheCourt.
        'l-his Courtiinds no petition w as tiled herein by oron behalfofany person orentity and tht
tim e fortiling such petitions and claim shasexpired.
        ThisCourtt
                 inds no petitionsare pending w ith regard to the assetsnam ed herein and the tim e
forpresenting such petitionshas expired.
              Case 2:10-cr-00185-KJD-RJJ       Document 111   Filed 12/08/10    Page 2 of 2


E
;    l               THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECILEED thatallright,
I    2 title, and interestin the property hereinafterdescribed iscondem ned,forfeited,and vested in the
                                                                                                           !
     3 l United States of Am erica purstlantto Fed. R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P. j

     4 32.2(e)(2);Title21,UnitedStatesCode,Section853(a)(l);andKl'itlc2l,UnitedStatesCode,Section j
     5 853(n)(7)andshallbedisposed of-accordingtoIaw!
     6                    a)     $3,760.00 in United StatesCurrencyseized from 6012 SugarCreek Drive,
     7                          N onh Las Vegas,N V ;                                                      I

     8j                   b)     $9,200.00inUnitedStatesCurrencyseizedfrom 5041lndigoGorgeAve-Las
         p'
     911                         vegas,Nv;and
    10                    c)     $l,400.00inUnitedStatesCurrencyseizedfrom 5041IndigoGorgeAve,Las
    I1                          V egas,N V ,
    12              IT IS FU RTH ER O RD ERED ,A DJU D GED,A N D D ECREED that any and a1lforfeited
    13 funds,including butnotlim ited to,cunvney,ctlrrency equivalents,certiticates ofdeposit, asw ellas
    14 any incom e derived asaresultofthe United Statesof-A m erica'sm anagem cntofanyproperty fbrlbited !
                                                                                                         j
      !;
    15!7 herein,andtheproceedsfrom thesaleofanylbrfeitedpropertyshallbedisposed ofaccordingtoIaw'. l
                                                                                                         i
    16           The Clerk ishereby directed to send copies ofthis Orderto aIlcounselof record and three
                                                                                                           I
    l7 certitiedcopiestotheUnitedStatesAttorney'sOffice.                                                   j l
                                                                                                             !
    l8              DATED this             dayof        &..      ,2010.                                    I
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    19                                                                                                     '

    2011
       :                                             UNITED S'IWTESDISTRICTJUDGE
    212;
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